                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                        Case No.: 21-cr-173 (PJS/DTS)

        Plaintiff,

v.                                               MOTION FOR CONTINUANCE

Anton Joseph Lazzaro (1),
Gisela Castro Median (2),

        Defendants.


        For the reasons set forth below, the Defendant, Mr. Anton Lazzaro, respectfully

requests a brief continuance of the hearing on the motion pending before the Court

[Dkt. Nos. 122, 123, 125-129, 132-133]. The hearing is scheduled to occur on March

24, 2022, at 3:30 p.m. before Magistrate Judge David T. Schultz [Dkt. 150].

        A continuance is necessary to allow Mr. Lazzaro's recently retained counsel

sufficient time to prepare for the hearing, viz., reviewing all of the relevant pleadings,

discovery, case law, subpoenaing any necessary witnesses, preparing for the

examination of witnesses and presenting arguments to the Court.

        Yet, undersigned counsel for Mr. Lazzaro was just admitted to practice and

represent Mr. Lazzaro in this case on March 4, 2022. Undersigned counsel has been

working diligently to obtain and review the relevant discovery and pleadings in the

case but anticipates it may not be possible to be adequately prepared by March 24,

2022.


                                             1
       Undersigned counsel understands and appreciates the importance of adhering to

the current deadlines set in the case, but respectfully submits that granting a short

continuance of weeks, not months, to allow undersigned counsel to adequately

prepare for the hearing and provide Mr. Lazzaro with effective representation at the

hearing substantially outweighs the need to adhere to the current scheduling order or

the public's/parties' need for a speedy trial.

       With a brief continuance, the government would still be able to be heard on all

the issues relatively quickly. Granting such a continuance would not result in any

miscarriage of justice, whereas not granting a continuance risks depriving Mr.

Lazzaro of his constitutional right to effective legal representation. While the facts of

the case are relatively straightforward, there is a significant amount of discovery,

certainly more than the run-of-the-mill case. Moreover, the issues presented in the

pending motions are not simply routine search and seizure issues, but rather the issues

include weighty constitutional arguments as well as some novel issues unique to this

prosecution.

       Mr. Lazzaro was indicted in August 2021. Mr. Lazzaro was arrested in August

2021 and has remained in custody at the Sherburne County Jail since that time. Mr.

Lazzaro is simultaneously filing a motion for exclusion of this time period from the

Speedy Trial Act Calculation.

       Undersigned counsel has conferred with Assistant United States Attorney

Laura Provinzino and, while the government opposes a continuance, Mr. Lazzaro


                                                 2
respectfully submits that, for the reasons stated above and pursuant to 18 U.S.C. §

3161(h)(7), the ends of justice are served by a brief continuance of the hearing on the

pending motions.


                                        Respectfully submitted,


Dated: March 10, 2022                   /s/ Gary K. Springstead
                                        Gary K. Springstead
                                        State Bar of Michigan No. P59726
                                        Lead Counsel for the Defendant
                                        SPRINGSTEAD BARTISH BORGULA & LYNCH, PLLC
                                        60 Monroe Center St., NW #500
                                        Grand Rapids, MI 49503
                                        Phone: (231) 924-8700
                                        Fax: (231) 924-8702
                                        E-mail: gary@sbbllaw.com




                                           3
